Case 1:21-cv-00463-DKW-RT Document 1-1 Filed 11/24/21 Page 1 of 7   PageID.7




                     EXHIBIT A
Case 1:21-cv-00463-DKW-RT Document 1-1 Filed 11/24/21 Page 2 of 7   PageID.8




                                                            Electronically Filed
                                                            FIRST CIRCUIT
                                                            1CCV-XX-XXXXXXX
                                                            10-NOV-2021
                                                            03:12 PM
                                                            Dkt. 11 CAMD
Case 1:21-cv-00463-DKW-RT Document 1-1 Filed 11/24/21 Page 3 of 7   PageID.9
Case 1:21-cv-00463-DKW-RT Document 1-1 Filed 11/24/21 Page 4 of 7   PageID.10
Case 1:21-cv-00463-DKW-RT Document 1-1 Filed 11/24/21 Page 5 of 7   PageID.11
Case 1:21-cv-00463-DKW-RT Document 1-1 Filed 11/24/21 Page 6 of 7   PageID.12
Case 1:21-cv-00463-DKW-RT Document 1-1 Filed 11/24/21 Page 7 of 7   PageID.13
